          Case 2:08-cr-00363-WBS Document 131 Filed 03/23/12 Page 1 of 2


1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     LORETTA LEIGH CANHAM
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. Cr.S. 08-363-GEB
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED ORDER]
13        v.                         )
                                     )
14                                   )
                                     )     Date: March 30, 2012
15   LORETTA LEIGH CANHAM,           )     Time: 9:00 a.m.
                                     )     Judge: Hon. Garland E. Burrell
16                  Defendant.       )
     _______________________________ )
17
18        IT IS HEREBY STIPULATED by and between the parties through their
19   respective counsel, MICHAEL M. BECKWITH, Assistant United States
20   Attorney, attorney for Plaintiff, and DENNIS S. WAKS, Supervising
21   Assistant Federal Defender, attorney for defendant, LORETTA LEIGH
22   CANHAM, that the current Status Conference date of March 23, 2012, be
23   vacated and reset for March 30, 2012, at 9:00 a.m.
24        This continuance is being requested because defense counsel
25   requires additional time to review discovery, discuss the case with the
26   government and pursue investigation.
27        It is further stipulated and agreed to between the parties that
28   the time from the date of the signing of this order to and including
            Case 2:08-cr-00363-WBS Document 131 Filed 03/23/12 Page 2 of 2


1    March 30, 2012 should be excluded within which the trial of the above
2    criminal prosecution must commence for purposes of the Speedy Trial
3    Act.    All parties stipulate and agree that this is an appropriate
4    exclusion of time within the meaning of Title 18, United States Code,
5    §3161(h)(7)(B)(iv)(Local Code T4).
6    Dated:    March 22, 2012                Respectfully submitted,
7                                            DANIEL BRODERICK
                                             Federal Defender
8
9                                             /s/ Dennis S. Waks
                                             DENNIS S. WAKS
10                                           Supervising Assistant Federal
                                             Defender
11                                           Attorney for Defendant
                                             LORETTA LEIGH CANHAM
12
13                                           BENJAMIN B. WAGNER
                                             United States Attorney
14
15   Dated:    March 22, 2012                /s/ Dennis S. Waks for
                                             MICHAEL M. BECKWITH
16                                           Assistant U.S. Attorney
17
18                                       O R D E R
19          IT IS SO ORDERED.    For the reasons set forth above, the court
20   specifically finds that the ends of justice served by granting of such
21   a continuance outweigh the best interest of the public and the
22   defendant in a speedy trial and therefore excludes time under the
23   Speedy Trial Act through March 30, 2012.
24   Dated:    March 23, 2012
25
26                                      GARLAND E. BURRELL, JR.
27                                      United States District Judge

28


                                              2
